          Case 1:23-cv-11578-MJJ Document 9 Filed 08/31/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


ROBERT JOHNSON, on behalf of )
himself and all others similarly )
situated,                        )
                                 )
        Plaintiff,               )
                                 )          Civil Action No.: 1:23-cv-11578
v.                               )
                                 )
PRESIDENT & FELLOWS OF           )
HARVARD COLLEGE a/k/a            )
HARVARD COLLEGE; and             )
CEDRIC LODGE,                    )
                                 )
        Defendants.              )
                                 )


                     MOTION TO DISMISS WITHOUT PREJUDICE
       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), Plaintiff Robert Johnson, hereby moves for the

Voluntary Dismissal of the above action without prejudice against Defendants. The opposing

party has not served an answer or other Motion.

     Respectfully Submitted,                               August 31, 2023
     The Plaintiff,
     By his Attorneys,

     /s/ Kevin J. McCullough
     Kevin J. McCullough
     BBO# 644480
     Mazow | McCullough, PC
     10 Derby Square, 4th Floor
     Salem, MA 01970
     Phone (978) 744-8000
     Fax (978) 744-8012
     kjm@helpinginjured.com
           Case 1:23-cv-11578-MJJ Document 9 Filed 08/31/23 Page 2 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


ROBERT JOHNSON, on behalf of )
himself and all others similarly )
situated,                        )
                                 )
        Plaintiff,               )
                                 )          Civil Action No.: 1:23-cv-11578
v.                               )
                                 )
PRESIDENT & FELLOWS OF           )
HARVARD COLLEGE a/k/a            )
HARVARD COLLEGE; and             )
CEDRIC LODGE,                    )
                                 )
        Defendants.              )
                                 )


                                     [PROPOSED] ORDER

       In consideration of Plaintiffs Motion to Dismiss without Prejudice pursuant to

Fed.R.Civ.P. 41(a)(1)(A)(i), it is

       HEREBY ORDERED that Plaintiff’s Motion to Dismiss without Prejudice is

GRANTED.

So Ordered


Date: ____________                                         _______________________
                                                           Hon. Myong J. Joun
                                                           United States District Judge
